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Magistrate Judge S. Kate Vaughan

 

 

 

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CASE NO, MJ22-128
Plaintiff COMPLAINT

Title 18, United States Code,
¥ Section 875

ERIC KIKKERT
Defendant.

 

 

BEFORE United States Magistrate Judge S. Kate Vaughan, Seattle, Washington.

The undersigned complainant being duly sworn states:
COUNT 1
(Interstate Threats)

On or about March 21, 2022, in King County, within the Western District of
Washington, and elsewhere, ERIC KIKKERT knowingly and willfully did transmit in
interstate and foreign commerce from the State of Washington to Texas,
communications, to wit, a series of voicemails, the communications contained a threat to
injure a person, that is a United States Senator, namely:

e “That’s a fucking vaccine. And if you don’t fucking talk to me about it. If you

don’t advocate for it, I’m gonna fucking blow your brains out”

COMPLAINT / U.S. v. Eric Kikkert - 1 sont vee eee
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e “I’m gonna blow your fucking brains out dude, literally.”
e “So I think if you think about what the fuck I’m talking about, alright, I’m willing

to put a gun in your face. You better fucking think about it.”.

All in violation of Title 18, United States Code, Section 875(c).

I, Caryn Highley, having been duly sworn, state as follows:

AFFIANT BACKGROUND

1. I am employed as a Special Agent with the Federal Bureau of
Investigation and have been employed with the FBI since August 2014. I am currently
assigned to the Seattle Field Division where I am a member of the Sound Regional
Violent Crime Task Force, which focuses on violent crimes, including violent threats,
and crimes committed within the maritime and aircraft special jurisdiction of the United
States. Iam a law enforcement officer currently authorized to investigate and enforce
violations of federal criminal statutes, including those found in Title 18, 21 and 49 of the
United States Code. I have received basic law enforcement training at the 20-week FBI
Academy. This training focused on various aspects of conducting criminal enterprise
investigations such as interviewing and interrogation techniques, physical and electronic
surveillance, development and management of confidential human sources, and arrest
planning and execution.

a The facts in this affidavit come from my personal observations, training and
experience, and information obtained from other law enforcement officers.
This affidavit is submitted for the limited purpose of establishing probable cause to
believe that ERIC KIKKERT has committed the offense above. I have not included
every fact concerning this investigation. Rather, I have set forth the facts that I believe

are necessary for a fair determination of probable cause.

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SUMMARY OF PROBABLE CAUSE

3. On March 8, 2022, the United States Capitol Police received a copy of an
email sent by ERIC KIKKERT. KIKKERT said that on the following day he was going
to “assume the role of the Acting President of the United States with the Law of the
Land.” His email contained a host of other non-sensical statements, including “For my
second action as active president I shall initiate the sex and human trafficking counter
measures on all sectors in which it exists to include the Life Saving Amulet. Fillabuster.”
KIKKERT identified himself in the email by name, and provided his home address,
which is in Kent, Washington. According to the United States Secret Service, KIKKERT
has a history of making threatening comments about individuals in government.

4. Special Agent Wilson with the Capitol Police called KIKKERT.

KIKKERT told Special Agent Wilson that he planned to travel to Washington, D.C.
Although KIKKERT denied any intent to harm anyone, he said he planned to visit the
White House, and if unsuccessful in what he hoped to accomplish, that he planned to start
a militia. He said he had seen mental health professionals in the past, but believed his
illness had resolved.

5. Special Agent Wilson called KIKKERT’s mother. She said that KIKKERT
suffers from mental illness, but that he refuses to take medication or continue mental
health treatment. She said that she had never witnessed KIKKERT be violent, and that
he does not have an interest in weapons.

6. On March 10, 2022, the Secret Service encountered KIKKERT at a hotel in
Washington, D.C. KIKKERT said he was a pacifist and was in Washington, D.C., to
advocate for more rights.

7. On March 13, 2022, KIKKERT emailed the United States Capitol Police.
He complained about an alleged kidnapping, and made non-sensical statements, including
“You may not use ‘due process’ to evade justice nor to violate ‘good behavior’ and as

such you are subject to direct article 3. Which is 5 years and 10,000 dollars or execution.

Death by firing squad.”
COMPLAINT / U.S. v. Eric Kikkert - 3 UNITED STATES ATTORNEY
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8. On March 16, 2022, a Maryland state police officer encountered
KIKKERT. The officer trespassed KIKKERT from the Hagerstown Speedway in
Maryland.

9. On March 18, 2022, the United States Capitol Police received a voicemail
which KIKKERT had previously left for the Architect of the Capitol Office of Inspector
General. He claimed to be in Washington, D.C. He rambled during the voicemail,
including stating “They are now using due process to evade justice, and I'm calling to
request assistance before I have to form and regulate a militia, deputize my own, uh,
militia participants, and then enforce the constitution myself.”

10. On that same day, KIKKERT posted on Facebook:

sci Eric Maker cee
Ae | March 18 at 11725 AM

Hello, | am looking to purchase same things | need a pistol or two preference is 9 mill, | also
would like a 12 gauge shotgun and purhaps one of those ar15s your talking about.

| will pay for gas, time spent driving at 22 $ a hour and any processing fees. To include a handling
fee of 175 dollars.

KIKKERT is a convicted felon who is prohibited from possessing firearms. KIKKERT’s
mother reported this post to the United States Capitol Police and expressed concern about
his changed attitude regarding firearms.

Il. On March 20, 2022, a KIKKERT’s mother shared recent text messages
during which KIKKERT expressed an interest in obtaining body armor.

12. On March 21, 2022, a man, who appeared to be KIKKERT given the phone
number used, called Senator Cruz’s office, and stated that the Senator either could
“answer my questions by giving me a call or at the end of my rifle.” On March 22, 2022,
an individual shared with the United States Capitol Police the following text message

from KIKKERT that included a photograph of KIKKERT from his time in the military:

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Ted Cruz is going to
call me or ill end up
in his fucking face

with an assault rifle.

 

In another shared text, KICKERT stated: “The death toll stacks every min... Death by
firing squad is a legal threat under article 3.”

13. On March 22, 2022, Senator Cruz’s office forwarded voicemails that the
office had recently received from KIKKERT, who identified himself by name in one of
the voicemails. In the voicemails, he made a number of threatening statements, such as:

e “That’s a fucking vaccine. And if you don’t fucking talk to me about it. If you
don’t advocate for it, I’m gonna fucking blow your brains out”

e “I’m gonna blow your fucking brains out dude, literally.”

e “So I think if you think about what the fuck I’m talking about, alright, I’m willing
to put a gun in your face. You better fucking think about it.”.

COMPLAINT / U.S. v. Evie Kikkert - 5 UNITED STATES ATTORNEY
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14. According to T-Mobile records, these calls routed from a Kent, Washington
tower. Thus, the calls were made from the Western District of Washington. They were
received by Senator Cruz’s office in Austin, Texas.

15. On that same date, KIKKERT called Senator Cruz’s office again, and
reached a live person, KIKKERT said that he was “one step away from getting an assault
rifle and pointing it at the Senator.”

16. KIKKERT called Senator Cruz’s office again the following day.

KIKKERT said he was not joking about his threats, and said he wanted to ask Senator

Cruz some questions “before I shove a rife in his face and kill him.”

CONCLUSION
17. Based on the above facts, I respectfully submit that there is probable cause
to believe that Defendant, ERIC KIKKERT, did knowingly and intentionally commit the

offense of sending interstate threatening communications, in violation of Title 18, United

er

CARYN HIGHLEY, Complainant”
Special Agents Federal/Bureau of Investigation

Based on the Complaint and Affidavit sworn to before me, and subscribed in my

States Code, Section 875.

presence, the Court hereby finds that there is probable cause to believe the Defendant

committed the offense set forth in the Complaint.

Dated this \S of April, 2022.
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S. KATE VAUGHAN
United States Magistrate Ne

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